                                                                      Judge: Timothy W. Dore
                                                                      Chapter: 13
                                          United States Bankruptcy Court
                                      Western District of Washington at Seattle

   In RE:                                                              Chapter 13 Case # 20-11939
        Emilie Villa-Ignacio Padiernos
        11300 1St Ave Ne #118
        Seattle,Wa 98125

                             Debtor(s)

                                   Chapter 13 Trustee's Report of Filed Claims
                                                January 22, 2021

        The office of the Chapter 13 Trustee reports that both the governmental and non-governmental bar dates
        have expired in the above-encaptioned case. The Trustee's staff has examined the schedules of debts filed
        in this case as well as the records of the Clerk of the United States Bankruptcy Court. Based upon that
        examination, the Trustee's office submits the following report of the names and addresses of the creditors
        who have timely filed a proof of claim in this case, together with the amount set forth on each such claim.

                                                                  Jason Wilson-Aguilar
                                                                  Chapter 13 Trustee

                                             Chapter 13 Case No. 20-11939

           Name and Address of Creditor                     Amount Classification
           Capital One Bank Usa Na                          $497.04 U - Unsecured
           By American Infosource Lp As                      Clm#: 4
           Agent                                            Level: 40 Comm:
           Po Box 71083                                               Acct # 3697
           Charlotte, NC 28272-1083
           Clerk Of Bankruptcy Court                          $0.00 Filing Fee
           Finance Dept. Us Court House                      Clm#: 0
           700 Stewart St, 6Th Flr #6301                     Level: 1 Comm:
           Seattle, WA 98101                                 200000 Acct #
           Comcast                                             $0.00 Not Filed                       X
           Po Box 34744                                     Clm#: 29
           Seattle, WA 98124-1744                           Level: 92 Comm: Amended Schedule/9-10-20
                                                                      Acct # 4136
           Credit One Bank                                     $0.00 Not Filed                       X
           Po Box 98873                                     Clm#: 30
           Las Vegas, NV 89193                              Level: 92 Comm: Amended Schedule/9-10-20
                                                                      Acct # 9708
           Internal Revenue Service                           $0.00 Y - Notice Only
           Po Box 7346                                     Clm#: 25
           Philadelphia, PA 19101                          Level: 98 Comm:
                                                           Corr Only Acct #




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           Name and Address of Creditor                Amount      Classification
           Internal Revenue Service                       $0.00    Y - Notice Only
           Po Box 7317                                 Clm#: 26
           Philadelphia, PA 19101                      Level: 98   Comm: No More Estimated Taxes
                                                     Pmts Go To    Acct # X2503
           Internal Revenue Service                    $675.34 U - Unsecured
           Po Box 7317                                 Clm#: 27
           Philadelphia, PA 19101                      Level: 40 Comm: I13/Penalty
                                                     Pmts Go To Acct # X2503
           Jefferson Capital Systems Llc                $559.78 U - Unsecured
           Po Box 772813                                Clm#: 7
           Chicago, IL 60677                           Level: 40 Comm: Premier Bankcard
                                                       EFT PMT Acct # 0194
           Jefferson Capital Systems Llc                $458.69 U - Unsecured
           Po Box 772813                                Clm#: 10
           Chicago, IL 60677                           Level: 40 Comm: Bluestem Brands/Fingerhut
                                                       EFT PMT Acct # 7969
           King Co Off Of Finance                        $0.00 Y - Notice Only
           500 4Th Ave #600                           Clm#: 28
           Seattle, WA 98104-2387                     Level: 98 Comm: Current
                                                    ALL GO TO Acct # 6174800160
           Merchants Credit                            $787.77 U - Unsecured
           Po Box 7416                                 Clm#: 11
           Bellevue, WA 98008                          Level: 40 Comm: Swedish Hospital/Medical Center
                                                        010180 Acct # 3116
           Merchants Credit Association                   $0.00 Not Filed                       X
           Attn: Bankruptcy                            Clm#: 31
           Po Box 7416                                 Level: 92 Comm: Amended Schedule/9-10-20
           Bellevue, WA 98008                                    Acct # 9129
           Northgate West Condominium                    $0.00 Continuing Debt
           Association                                 Clm#: 13 @ $516.56 Per Month
           C/O Strichartz Aspaas Pllc                   Level: 8 Comm: 11300 1st Ave NE #118/HOA/SD=1
           2101 Fourth Ave #860                                  Acct # 8408
           Seattle, WA 98121
           Northgate West Condominium                 $4,707.90 = - Other Secured Delq
           Association                                 Clm#: 22 @ $104.72 Per Month
           C/O Strichartz Aspaas Pllc                  Level: 17 Comm: ~7-20
           2101 Fourth Ave #860                                  Acct # 8408
           Seattle, WA 98121
           Northgate West Condominium                 $1,334.37 = - Other Secured Delq
           Association                                 Clm#: 32
           C/O Strichartz Aspaas Pllc                  Level: 14 Comm: 8-20~10-20 (3 Pymnts)
           2101 Fourth Ave #860                                  Acct # 8408
           Seattle, WA 98121
           Northgate West Condominium                $42,529.33 U - Unsecured
           Association                                 Clm#: 33
           C/O Strichartz Aspaas Pllc                  Level: 40 Comm: Quantum Meruit Claim for Contents
           2101 Fourth Ave #860                                  Acct # 8408
           Seattle, WA 98121

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           Name and Address of Creditor                Amount Classification
           Northgate West Condominium                 $2,795.00 Post Petition Fees
           Association                                 Clm#: 34
           C/O Strichartz Aspaas Pllc                  Level: 31 Comm: ~10-20
           2101 Fourth Ave #860                                  Acct # 8408
           Seattle, WA 98121
           Portfolio Recovery Assoc                    $510.17 U - Unsecured
           Po Box 12914                                Clm#: 14
           Norfolk, VA 23541                           Level: 40 Comm: Capital One Bank (USA)
                                                        352291 Acct # 0789
           Quantum3 Group                              $441.91 U - Unsecured
           Po Box 788                                  Clm#: 5
           Kirkland, WA 98083-0788                    Level: 40 Comm: Wayfair/Comenity Bank
                                                     EFT PMTS Acct # 0597
           Resurgent Capital Services                  $900.74 U - Unsecured
           Po Box 10368                                Clm#: 12
           Greenville, SC 29603-0368                   Level: 40 Comm: Merrick Bank
                                                                 Acct # 8465
           Select Portfolio Servicing Inc                $0.00 Continuing Debt
           Attn: Remittance Processing                 Clm#: 15 @ $1,110.36 Per Month
           Po Box 65450                                 Level: 8 Comm: SD 11-20/11300 1st Ave NE #118
           Salt Lake City, UT 84165-0450                         Acct # 8507
           Select Portfolio Servicing Inc            $14,922.25 D - 1St Mortgage Delinquency
           Attn: Remittance Processing                 Clm#: 21 @ $266.67 Per Month
           Po Box 65450                                Level: 17 Comm: ~7-20 (pet date)/CTO 12-1-20
           Salt Lake City, UT 84165-0450                         Acct # 8507
           Select Portfolio Servicing Inc             $3,331.08 ) - Post Petition Mortgage Delq
           Attn: Remittance Processing                 Clm#: 24
           Po Box 65450                                Level: 14 Comm: 8-20~10-20 (3 pymnts)
           Salt Lake City, UT 84165-0450                         Acct # 8507
           The Contents Specialists Seatt                 $0.00 Y - Notice Only
           6839 S 220Th St                             Clm#: 18
           Kent, WA 98032                              Level: 98 Comm:
                                                                 Acct #
           Tidewater Finance Company                  $9,647.13 U - Unsecured
           Po Box 13306                                Clm#: 23
           Chesapeake, VA 23325                        Level: 40 Comm: 2015 Default Judgment
                                                                 Acct # 5492/Exceeds Statute
                        Total Claimed Amount:         $84,098.50




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   To Debtor(s):

   This is a report of the proof of claims creditors have filed in your case. The amounts of the claims are the
   original amounts, so they do not reflect any payments made and may not reflect the current balances. This is not
   an audit and does not include the Trustee's administrative fee, but it does include any attorney fees to be paid
   through your Chapter 13 plan.

   The claim numbers above are assigned by this office for administrative purposes but are not the official claim
   numbers. For the official claim numbers, please refer to the claim numbers assigned by the U.S. Bankruptcy
   Court displayed on CM/ECF.

   Please review this report carefully. If you dispute any amounts claimed by your creditors, you must
   contact your attorney. We have also provided a copy of this report to your attorney.

   The Trustee distributes your plan payments based on your Chapter 13 plan. Therefore, disputed claims and
   untimely claims may receive disbursements unless you properly file a written objection with the U.S.
   Bankruptcy Court and the Court disallows the claim. Whether a claim is filed timely or late, it is allowed
   unless a party in interest objects. 11 U.S.C. § 502(a); In re Smith, No. 09-43823, 2010 WL 5018379, at * 2 - 3
   (Bankr. W.D. Wa. Dec. 3, 2010). See also Lane v. The Bank of New York Mellon et al. (In re Lane), 959 F.3d
   1226, 1230 (9th Cir. 2020). In addition, in the absence of an objection, even an untimely proof of claim is
   entitled to payment through the plan in the same manner as other claims of its class. Smith, 2010 WL
   5018379, at *3.

   Objections to claims in chapter 13 cases must be filed and served no later than 270 days from the petition date,
   unless good cause is shown. Local Bankr. R. 3007-1(b). Objections to claims shall be filed and served at least
   30 days preceding the date fixed for hearing. Local Bankr. R. 9013-1(d)(2)(C). See also Fed. R. Bankr. P.
   3007.

   Please contact your attorney immediately if you have questions or concerns.

   January 22, 2021

   CC: Washington Law Group Pllc                                  Jason Wilson-Aguilar, Trustee
       Northway Square West                                       Chapter 13 Bankruptcy Trustee
       10700 Meridian Ave N #109                                  600 University St. #1300
       Seattle,WA 98133                                           Seattle,WA 98101
                                                                  www.seattlech13.com
                                                                  Phone: (206) 624-5124
                                                                  Fax:(206) 624-5282




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